 Case: 1:16-cv-08298 Document #: 88 Filed: 02/06/18 Page 1 of 1 PageID #:2170

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                Eastern Division

John Doe
                                     Plaintiff,
v.                                                     Case No.: 1:16−cv−08298
                                                       Honorable Edmond E. Chang
University of Chicago, et al.
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 6, 2018:


       MINUTE entry before the Honorable Edmond E. Chang: Pursuant to the stipulated
dismissal, under Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the case is dismissed
with prejudice, each side to bear its own fees and costs. Status hearing of 02/07/2018 is
vacated. Civil case terminated. Emailed notice(slb, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
